     Case 2:11-cv-03045-RMP                   ECF No. 332    filed 04/12/13      PageID.5085        Page 1
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AO 450 (Rev. 5/85) Judgment in a Civil Case



            UNITED STATES DISTRICT COURT
                                    Eastern District of Washington
 EQUAL EMPLOYMENT OPPORTUNITY
 COMMISSION,
                       Plaintiff,
                                                                     JUDGMENT IN A CIVIL CASE
                                       v.
 GLOBAL HORIZONS, INC., d/b/a Global Horizons
 Manpower, Inc.; GREEN ACRE FARMS, INC.;                             CASE NUMBER: C-11-3045-EFS
 VALLEY FRUIT ORCHARDS, LLC; and DOES 1-10
 inclusive,
                             Defendants.
     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
     has rendered its verdict.

 ✘   Decision by Court. This action came to hearing before the Court. The issues have been
     heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED that a judgment for attorneys' fees in the amount of $9,000.00 is
entered in favor of Defendant Growers (Green Acre Farms, Inc. and Valley Fruit Orchards, LLC)
against the Plaintiff, Equal Employment Opportunity Commission.




April 12, 2013                                               SEAN F. McAVOY
Date                                                         Clerk
                                                             s/ Linda Emerson
                                                             (By) Deputy Clerk
                                                             Linda Emerson
